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FoR THE wEsTERN DISTRICT oF TENNESSEE F"-ED BY

IN THE UNITED STATES DISTRICT COURT
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WESTERN DIVISION

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No. 05-20§@§'?-)3\; ;:z

UNITED STATES OF AMERICA,

  

VS.

FRANK SEMORA,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE BOND REVOCATION HEARING

 

For good cause shown, and without objection by the government,
the Court hereby GRANTS defendant's motion to continue and reset
the bond revocation. hearing in this matter currently set for
Monday, July 18, 2005. The bond revocation hearing is hereby RESET
to defendant’s sentencing hearing date before the Honorable J.
Daniel Breen, United States District Judge, on Thursday, July 21,
2005, at 9:00 a.m.

IT IS SO ORDERED.

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DIANE K. vEscovo
UNITED sT Es GISTRATE JUu§;
DATE: /5 , a?OUo

 

 

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Honorable J. Breen
US DISTRICT COURT

